                    Case 3:22-cr-00081-MO                    Document 8             Filed 03/04/22            Page 1 of 2




                                         UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERI CA                                                                                   ORDER SE TTING CONDITIONS
              v.                                                                                                            OF RELEASE

 Demis Doyle                                                                                                 Case Number: 3 :22CR000 81-MO-1

ITISORDEREDthatthereleaseofthedefendantissubjecttothefollowingconditions:

(1)      The defendant shaunot commit any offensein violation offederal, state or locallawwhfle on release in this case.
(2)      The defendant must cooperate in the collection ofa DNA sample if the collectionis authorized by 42 U.S.C § 14135a.
(3 )      The defendant shallinmediately advise the court through pretrial services or defense counselin witing of any change in
         addressandtelephonenunber.
(4)      The defendant shall appear at anproceedings asrequired and shall surender for service of any sentence inposed as directed.
         Thedefendantshaunextappearasdirectedbyu.S.Districtcourt.
                                                                                                         (




                                                      Additional Conditions ofRelease

ITISFURTHERORDEREDthatthedefendantbereleasedprovidedthatthedefendant:
      • Report as directedby the u.S.Pretrialservices office.
      • Do not change place ofresidencewithoutthepriorapprovalofu.S. Pretrialservices.
      • Travelis limited to oregonunlesspriorapprovalis obtainedfromu.S. Pretrialservices.
      •  The defendant shaunot have direct or indirect contactwith the followingnamedpersous: anyvictims identified by the
         U.S. Attorney' s office.
      • Notpossess, obtain orviewmaterialwhichdepicts sexually exphicit conductas definedby Title 1 8 USC 2256.
      • Not directly orindirectlyuse orpossess a computerorelectronicmedia, including anydevises andcellularphones, with
         intemetaccesscapabilitiesoraccessacomputerorelectronicmedia,withoutthepriorapprovalofpretrialservices.
         Defendantshallalsonotaccesstheintemetorintemetbulletinboards,orprfuateorpubficcomputemetworkswithout
         priorapprovalofpretrialservices.
      • Pemit pretrial services to installmonitoring softvAre on any computerwithin the defendant's possession or confrolthat
         allows random orregu]armonitoring of the defendants computeruse. Pretrial services win also be allowed periodic
         inspectionofanysuchcomputerincludingretrieval,copyingandreviewofitselectroniccontenLts.
      • Not have direct or indirect contactwith persons underthe age of 1 8 without theprior approval ofpretrial services.
         Wheninthepresenceofpersonsundertheageofl8,youmayberequiredtobechaperonedbyanadultapprovedby
         Pretrialservices.
      • Not affiliate with, own, control, and/orbe employedin any capacityby a business, organization, and orvolunteer activky
         thatcausesthedefendanttoregularlycontactpersousundertheageofl8.
      • Not frequent places primarily used bypersons underthe age of 1 8 without the prior approval ofpretrial services.

                                                      Advice of penalties and sanctions

TO TIIE DEFENDANT:

          YOUAREADVISEDOFTHEFOLLOVINGPENAITIESANDSANCTIONS:

          A violation of any of the foregoing conditions ofrelease may result in the immediate issuance of awarrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and apros ecutionfor contempt of court and could result in a ten ofinpris onment, a fine, or both.

           The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment ofnotmore than ten
years, if the offense is a felony; or aterm ofinprisonment ofnotmore than one year, if the offense is amisdemeanor. This sentence shall be in
addition to any other sentence.




          Federal law malces it a crine punishable by up to ten years ofinprisonment, and a $25 0,000 fine or both to intinidate or attempt to
                      Case 3:22-cr-00081-MO                    Document 8             Filed 03/04/22            Page 2 of 2



intinidate a witness, victim,juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years ofinprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victin or informant, or
to threaten or attempt to do so.

         If after release, you knowingiv fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for fallingto appear or surrender and additional punishmentmay be inposed. If you are convicted of:

(1)        an offense punishable by death, life inpris onment, or inprisonment for atem offifteen years or more, you shall be fined not more than
          $250,000orinprisonedfornomorethantenyears,orboth;
(2)       an offens e punishable by inprisonment for a term offive years or more, but less than fifteen years, you shall be fined notmore than
          $250,000 or impris oned for no more than five years, or both;
(3)        any other felony, you shallbe fined notmore than $250,000 or imprisonedno more than two years, orboth;
(4)         a misdemeanor, you shallbe finednotmore than $100,000 or inprisonednotmore than one year, or both;

           A teim of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
falure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

          I acknowledge thatl am the defendant in this case and that I an aware of the conditions of release. I promise to obey all conditions of
release,toappearasdITected,andtosuITenderforserviceofanysentenceimposedlanawareofthe;:;;;::;;i;dsan&nfbove




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                                                                                                              Cfty,State&Zip

SpecialNeedsFinding:
Basedupontheaboveconditions,includingtheconditionsre]atingto:
I        Alcoho l d ete ction
I        Ding detection
EE     C omputer in onitoring
Thecourtisreasonablyassuredthedefendantwillappearasdirectedandnotposeadangertothecommunityoranyotherperson.

Directions to the united states Marshal
BZI          The defendant is ORDERED released afterprocessing.
I        The defendant is ORDERED temporarily released
I         The united states Marsbal is ORDERED to keep the defendant in custody untilnotifiedby the clerk, Pretrial services or
          judicial officer that the defendant has posted bond and/or compfied with an other conditions for release including apace
          availability at a community corrections center or residentialtreatment facility. If still in custody, the defendant shallbe
          producedbeforethedutyMaSstrateJudgeon                                            at


Date: March4, 2o22




                                                                                                  NameandTitleofJudicialofficer
cc:         Defendant
           US Attorney
           US Marshal
           Pretrialservices

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